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                                UNITED STATES DISTRICT COURT
                                W ESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION




UNITED STATES OF AMERICA,

                Plaintiff,
                                                               CASE NO. 1:07cr261
v.
                                                               HON. ROBERT J. JONKER
THOMAS RANDALL KENT,

            Defendant.
_____________________________/


                   ORDER DISMISSING MOTION TO WITHDRAW AS COUNSEL
                               FOR LACK OF JURISDICTION

         The Court sentenced Defendant Kent on June 26, 2008, after Mr. Kent’s conviction of

Conspiracy to Distribute More Than 100 kilograms of Marijuana. Defendant filed a notice of appeal.

On July 29, 2008, Counsel for defendant moved to withdraw his appearance as counsel of record.

(Docket #201). Under Sixth Circuit Rule 101(a), trial counsel in criminal cases, whether retained or

appointed by the district court, is responsible for the continued representation of the client on appeal

until specifically relieved by the appellate court. Accordingly, this Court DISMISSES counsel’s motion

to withdraw as counsel for lack of jurisdiction to rule on the motion.

         Appointment of new counsel for Mr. Kent under the CJA is a matter that must first be resolved

by the district court. Fed. R. App. 24; 6th Cir. R. 24; 6th Cir. R. 101(d). The motion from Mr. Kent’s

counsel does reference Mr. Kent’s indigency (¶ 19), but Mr. Kent has not yet moved for appointment

of CJA counsel and made the required financial disclosures. W hen he does so, the Court will act

promptly on his request. The Court of Appeals may be reluctant to relieve Mr. Kent’s present counsel

before retention or appointment of new counsel for Mr. Kent. 6th Cir. R. 101(f)(1).


                                            /s/Robert J. Jonker
                                               ROBERT J. JONKER
                                       UNITED STATES DISTRICT JUDGE
Dated: August 7, 2008
